CM/ECF for JPML (LIVE)                                        https://ecf.jpml.uscourts.gov/cgi-bin/DktRpt.pl?185432944155488-L_1_0-1
               Case 5:14-cv-05090-TLB Document 30-2            Filed 09/01/20 Page 1 of 7 PageID #: 353

                                                                   CRO_FINAL,JPML_RULE_7.1(a)_SUSPENDED

                             United States Judicial Panel on Multidistrict Litigation
                              CIVIL DOCKET FOR CASE #: ARW/5:14-cv-05090


         Cline et al v. Boston Scientific Corporation                     Date Filed: 06/10/2014
         Assigned to: U.S. District Judge Joseph R. Goodwin               Jurisdiction: Diversity
         Lead case: MDL No. 2326 (Transferred)
         Transferee Case Number: 2:14-cv-17998
         Member case: (View Member Case)
         Plaintiff
         Kortney R. Cline                                 represented by Aimee Wagstaff
                                                                         ANDRUS & WAGSTAFF
                                                                         7171 West Alaska Drive
                                                                         Lakewood, CO 80226
                                                                         303-376-6360
                                                                         Fax: 303-376-6361
                                                                         Email:
                                                                         aimee.wagstaff@andruswagstaff.com
                                                                         ATTORNEY TO BE NOTICED

                                                                           G. Chadd Mason
                                                                           MASON LAW FIRM
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                                                                           ATTORNEY TO BE NOTICED

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                                                                           Cox Cox Estes PLLC
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         Plaintiff
         Jody Cline                                       represented by Aimee Wagstaff
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

                                                                           G. Chadd Mason
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Stephen Lance Cox


1 of 7                                                                                                             9/1/2020, 1:36 PM
CM/ECF for JPML (LIVE)                               https://ecf.jpml.uscourts.gov/cgi-bin/DktRpt.pl?185432944155488-L_1_0-1
              Case 5:14-cv-05090-TLB Document 30-2    Filed 09/01/20 Page 2 of 7 PageID #: 354

                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED


         V.
         Defendant
         Boston Scientific Corporation          represented by Jon A. Strongman
         and                                                   SHOOK AND HARDY, LLP
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                                                               ATTORNEY TO BE NOTICED

                                                                  Roger Christopher Lawson
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                                                                  3425 N. Futrall
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                                                                  ATTORNEY TO BE NOTICED

                                                                  Michael Bonasso
                                                                  FLAHERTY SENSABAUGH &
                                                                  BONASSO PLLC
                                                                  200 Capital Street
                                                                  P.O. Box 3843



2 of 7                                                                                                    9/1/2020, 1:36 PM
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              Case 5:14-cv-05090-TLB Document 30-2             Filed 09/01/20 Page 3 of 7 PageID #: 355

                                                                           Charleston, WV 25338-3843
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                                                                           ATTORNEY TO BE NOTICED

                                                                           Michael A. Tanenbaum
                                                                           SEDGWICK LLP
                                                                           One Newark Center
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                                                                           16th Floor
                                                                           Newark, NJ 07102
                                                                           973-242-0002
                                                                           Fax: 973-242-8009
                                                                           Email: mtanenbaum@tktrial.com
                                                                           ATTORNEY TO BE NOTICED

         Defendant
         John Does Nos. 1 and 2
         TERMINATED: 10/08/2014


         Date Filed      #   Docket Text
         03/19/2014      1 CONDITIONAL TRANSFER ORDER FILED TODAY (CTO-102) - 15 action(s)

                             Signed by Clerk of the Panel Jeffery N. Luthi on 3/19/2014.

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, CT/3:14-cv-00263, MA/1:14-
                             cv-10660, MA/1:14-cv-10661, MA/1:14-cv-10663, MA/1:14-cv-10665, MA/1:14-
                             cv-10667, MA/1:14-cv-10669, MA/1:14-cv-10670, MA/1:14-cv-10671, MOE/4:14-
                             cv-00457, MOE/4:14-cv-00460, PAE/2:14-cv-01435, PAE/2:14-cv-01436, PAE/2:14-
                             cv-01437 (LAH) (Entered: 03/19/2014)
         03/19/2014      2 ***TEXT ONLY NOTICE***

                             NOTICE OF FILING OF CTO AND PUBLICATION OF BRIEFING
                             SCHEDULE (CTO-102) re: pldg. (1 in ARW/5:14-cv-05090, 1 in CT/3:14-cv-00263,
                             1 in MA/1:14-cv-10660, 1 in MA/1:14-cv-10661, 1 in MA/1:14-cv-10663, 1 in
                             MA/1:14-cv-10665, 1 in MA/1:14-cv-10667, 1 in MA/1:14-cv-10669, 1 in MA/1:14-
                             cv-10670, 1 in MA/1:14-cv-10671, 973 in MDL No. 2326, 1 in MOE/4:14-cv-00457, 1
                             in MOE/4:14-cv-00460, 1 in PAE/2:14-cv-01435, 1 in PAE/2:14-cv-01436, 1 in
                             PAE/2:14-cv-01437)

                             BRIEFING SCHEDULE IS SET AS FOLLOWS:
                             Oppositions due on or before 3/26/2014.

                             Signed by Clerk of the Panel Jeffery N. Luthi on 3/19/2014.

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, CT/3:14-cv-00263,
                             MA/1:14-cv-10660, MA/1:14-cv-10661, MA/1:14-cv-10663, MA/1:14-cv-10665,
                             MA/1:14-cv-10667, MA/1:14-cv-10669, MA/1:14-cv-10670, MA/1:14-cv-10671,
                             MOE/4:14-cv-00457, MOE/4:14-cv-00460, PAE/2:14-cv-01435, PAE/2:14-cv-01436,


3 of 7                                                                                                             9/1/2020, 1:36 PM
CM/ECF for JPML (LIVE)                                       https://ecf.jpml.uscourts.gov/cgi-bin/DktRpt.pl?185432944155488-L_1_0-1
              Case 5:14-cv-05090-TLB Document 30-2            Filed 09/01/20 Page 4 of 7 PageID #: 356

                            PAE/2:14-cv-01437 (LAH) (Entered: 03/19/2014)
         03/25/2014      3 NOTICE OF OPPOSITION TO CONDITIONAL TRANSFER ORDER (CTO-102) - 1
                           action(s) - re: pldg. (1 in ARW/5:14-cv-05090, 973 in MDL No. 2326) Filed by Plaintiff
                           Kortney R. Cline Associated Cases: MDL No. 2326, ARW/5:14-cv-05090 (Cox,
                           Stephen) (Entered: 03/25/2014)
         03/25/2014      4 ***TEXT ONLY NOTICE***

                            NOTICE OF FILED OPPOSITION TO CTO-102 AND PUBLICATION OF
                            BRIEFING SCHEDULE re: pldg. (3 in ARW/5:14-cv-05090, 985 in MDL No. 2326)

                            BRIEFING SCHEDULE IS SET AS FOLLOWS:
                            Notices of Appearance due on or before 4/8/2014. Corporate Disclosure Statements
                            due on or before 4/8/2014. Motion to Vacate with Brief in Support due on or before
                            4/8/2014. Responses due on or before 4/29/2014.

                            Appearance forms (JPML form 18) and Corporate Disclosure forms can be
                            downloaded from our website. Important: A Corporate Disclosure Form, if
                            required, must be filed, even if one has previously been filed in this MDL.

                            Please visit the CM/ECF Filing Guidelines & Forms page of our website for
                            additional information.

                            Signed by Clerk of the Panel Jeffery N. Luthi, on 3/25/2014.

                            Associated Cases: MDL No. 2326, ARW/5:14-cv-05090 (LH) (Entered: 03/25/2014)
         03/25/2014      5 NOTICE OF APPEARANCE FOR CTO-102 re: pldg. (1 in ARW/5:14-cv-05090, 973
                           in MDL No. 2326) Filed by Stephen Lance Cox on behalf of Plaintiff Kortney R. Cline
                           Associated Cases: MDL No. 2326, ARW/5:14-cv-05090 (Cox, Stephen) Modified on
                           3/26/2014 (LAH). ADDED MDL LINK (Entered: 03/25/2014)
         03/26/2014      6 CERTIFICATE OF SERVICE re: pldg. ( 990 in MDL No. 2326) Filed by Plaintiff
                           Kortney R. Cline -- Associated Cases: MDL No. 2326, ARW/5:14-cv-05090 (Cox,
                           Stephen) (Entered: 03/26/2014)
         04/08/2014      7 MOTION TO VACATE CONDITIONAL TRANSFER ORDER WITH BRIEF IN
                           SUPPORT (CTO-102) re: pldg. (3 in ARW/5:14-cv-05090, 985 in MDL No. 2326) Filed
                           by Plaintiff Kortney R. Cline (Attachments: # 1 Brief in Support of Motion to Vacate
                           Conditional Transfer Order, # 2 Schedule of Actions, # 3 Proof of Service, # 4 Exhibit
                           "A" Civil Docket, # 5 Exhibit "B" First Amended Complaint)

                            Associated Cases: MDL No. 2326, ARW/5:14-cv-05090 (Cox, Stephen) Modified on
                            4/9/2014 (LAH). REMOVED DUPLICATE ATTATCHMENT NAME AND ADDED
                            MDL LINK (Entered: 04/08/2014)
         04/08/2014      8 NOTICE OF APPEARANCE FOR CTO-102 re: pldg. (1 in ARW/5:14-cv-05090, 973
                           in MDL No. 2326) Filed by Jon A. Strongman on behalf of Defendant Boston Scientific
                           Corporation (Attachments: # 1 Proof of Service) Associated Cases: MDL No. 2326,
                           ARW/5:14-cv-05090 (Strongman, Jon) (Entered: 04/08/2014)
         04/08/2014      9 CORPORATE DISCLOSURE STATEMENT re: pldg. (3 in ARW/5:14-cv-05090, 985
                           in MDL No. 2326), (7 in ARW/5:14-cv-05090, 1009 in MDL No. 2326) -- Identifying
                           Corporate Parent No Parent Corp. for Boston Scientific Corporation. (Attachments: #


4 of 7                                                                                                            9/1/2020, 1:36 PM
CM/ECF for JPML (LIVE)                                       https://ecf.jpml.uscourts.gov/cgi-bin/DktRpt.pl?185432944155488-L_1_0-1
              Case 5:14-cv-05090-TLB Document 30-2            Filed 09/01/20 Page 5 of 7 PageID #: 357

                             1 Proof of Service) Associated Cases: MDL No. 2326, ARW/5:14-cv-05090
                             (Strongman, Jon) (Entered: 04/08/2014)
         04/14/2014      10 HEARING ORDER re: pldg. (7 in ARW/5:14-cv-05090, 1009 in MDL No. 2326), (8 in
                            MA/1:14-cv-10408, 981 in MDL No. 2326), ( 1001 in MDL No. 2326, 7 in MOE/4:14-
                            cv-00457), ( 1016 in MDL No. 2326, 8 in PAE/2:14-cv-01569, 8 in PAE/2:14-cv-01570,
                            8 in PAE/2:14-cv-01571, 8 in PAE/2:14-cv-01572, 8 in PAE/2:14-cv-01573, 8 in
                            PAE/2:14-cv-01574, 8 in PAE/2:14-cv-01575, 8 in PAE/2:14-cv-01576, 8 in PAE/2:14-
                            cv-01577, 8 in PAE/2:14-cv-01581) in the following opposition(s) of Plaintiffs in 12
                            Actions - ARW-1, MOE-1, PAE-10 and Defendant LifeCell in 1 Action - MA-1 -
                            SECTION B (DESIGNATED FOR CONSIDERATION WITHOUT ORAL
                            ARGUMENT)

                             PANEL HEARING set for 5/29/2014 in Chicago, Illinois.

                             Signed by Judge John G. Heyburn II, Chairman, PANEL ON MULTIDISTRICT
                             LITIGATION, on 4/14/2014.

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, MA/1:14-cv-10408,
                             MOE/4:14-cv-00457, PAE/2:14-cv-01569, PAE/2:14-cv-01570, PAE/2:14-cv-01571,
                             PAE/2:14-cv-01572, PAE/2:14-cv-01573, PAE/2:14-cv-01574, PAE/2:14-cv-01575,
                             PAE/2:14-cv-01576, PAE/2:14-cv-01577, PAE/2:14-cv-01581 (RH) (Entered:
                             04/14/2014)
         04/29/2014      11 RESPONSE IN OPPOSITION TO MOTION TO VACATE CTO (re: pldg. (7 in
                            ARW/5:14-cv-05090, 1009 in MDL No. 2326) ) (CTO-102) Filed by Defendant Boston
                            Scientific Corporation (Attachments: # 1 Exhibit 1)

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090 (Strongman, Jon) (Entered:
                             04/29/2014)
         06/09/2014      12 TRANSFER ORDER re: pldg. (7 in ARW/5:14-cv-05090, 1009 in MDL No. 2326), (10
                            in ARW/5:14-cv-05090, 1017 in MDL No. 2326, 9 in MOE/4:14-cv-00457, 9 in
                            PAE/2:14-cv-01569, 9 in PAE/2:14-cv-01570, 9 in PAE/2:14-cv-01571, 9 in PAE/2:14-
                            cv-01572, 9 in PAE/2:14-cv-01573, 9 in PAE/2:14-cv-01574, 9 in PAE/2:14-cv-01575, 9
                            in PAE/2:14-cv-01576, 9 in PAE/2:14-cv-01577, 9 in PAE/2:14-cv-01581), ( 1001 in
                            MDL No. 2326, 7 in MOE/4:14-cv-00457), ( 1016 in MDL No. 2326, 8 in PAE/2:14-
                            cv-01569, 8 in PAE/2:14-cv-01570, 8 in PAE/2:14-cv-01571, 8 in PAE/2:14-cv-01572, 8
                            in PAE/2:14-cv-01573, 8 in PAE/2:14-cv-01574, 8 in PAE/2:14-cv-01575, 8 in
                            PAE/2:14-cv-01576, 8 in PAE/2:14-cv-01577, 8 in PAE/2:14-cv-01581)

                             Transferring 12 action(s) - MDL No. 2326, ARW/5:14-cv-05090, MOE/4:14-cv-00457,
                             PAE/2:14-cv-01569, PAE/2:14-cv-01570, PAE/2:14-cv-01571, PAE/2:14-cv-01572,
                             PAE/2:14-cv-01573, PAE/2:14-cv-01574, PAE/2:14-cv-01575, PAE/2:14-cv-01576,
                             PAE/2:14-cv-01577, PAE/2:14-cv-01581

                             Signed by Judge John G. Heyburn II, Chairman, PANEL ON MULTIDISTRICT
                             LITIGATION, on 6/9/2014.

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, MOE/4:14-cv-00457,
                             PAE/2:14-cv-01569, PAE/2:14-cv-01570, PAE/2:14-cv-01571, PAE/2:14-cv-01572,
                             PAE/2:14-cv-01573, PAE/2:14-cv-01574, PAE/2:14-cv-01575, PAE/2:14-cv-01576,
                             PAE/2:14-cv-01577, PAE/2:14-cv-01581 (LAH) (Entered: 06/09/2014)



5 of 7                                                                                                            9/1/2020, 1:36 PM
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              Case 5:14-cv-05090-TLB Document 30-2             Filed 09/01/20 Page 6 of 7 PageID #: 358

         06/20/2018      13 ***TEXT ONLY ORDER***

                             MINUTE ORDER SUSPENDING RULE 7.1(a) -- Panel Rule 7.1(a), requiring
                             notification to the Clerk of the Panel of potential tag-along actions, is hereby
                             suspended in this litigation until further notice.

                             Signed by Clerk of the Panel Jeffery N. Luthi on 6/20/2018.

                             Associated Cases: MDL No. 2326 et al. (dld) (Entered: 06/20/2018)
         08/24/2020      14 SUGGESTION OF REMAND

                             Signed by U.S. District Judge Joseph R. Goodwin in the S.D. West Virginia and filed in
                             district court on 8/21/20.

                             -- Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, CAE/2:12-cv-00701,
                             LAE/2:15-cv-00431, MSS/4:12-cv-00136, TNW/1:18-cv-02054 (CMD) (Entered:
                             08/24/2020)
         08/24/2020      15 CONDITIONAL REMAND ORDER FILED TODAY - 5 action(s) - re: pldg. (14 in
                            ARW/5:14-cv-05090, 2 in CAE/2:12-cv-00701, 5 in LAE/2:15-cv-00431, 2799 in MDL
                            No. 2326, 2 in MSS/4:12-cv-00136, 5 in TNW/1:18-cv-02054)

                             Signed by Clerk of the Panel John W. Nichols on 8/24/2020.

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, CAE/2:12-cv-00701,
                             LAE/2:15-cv-00431, MSS/4:12-cv-00136, TNW/1:18-cv-02054 (CMD) (Entered:
                             08/24/2020)
         08/24/2020      16 ***TEXT ONLY NOTICE***

                             NOTICE OF FILING OF CRO AND PUBLICATION OF BRIEFING
                             SCHEDULE -- re: pldg. (15 in ARW/5:14-cv-05090, 3 in CAE/2:12-cv-00701, 6 in
                             LAE/2:15-cv-00431, 2800 in MDL No. 2326, 3 in MSS/4:12-cv-00136, 6 in
                             TNW/1:18-cv-02054)

                             BRIEFING SCHEDULE IS SET AS FOLLOWS:
                             Oppositions due on or before 8/31/2020.

                             Signed by Clerk of the Panel John W. Nichols on 8/24/2020.

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, CAE/2:12-cv-00701,
                             LAE/2:15-cv-00431, MSS/4:12-cv-00136, TNW/1:18-cv-02054 (CMD) (Entered:
                             08/24/2020)
         09/01/2020      17 CONDITIONAL REMAND ORDER FINALIZED (re: pldg. (15 in ARW/5:14-
                            cv-05090, 3 in CAE/2:12-cv-00701, 6 in LAE/2:15-cv-00431, 2800 in MDL No. 2326, 3
                            in MSS/4:12-cv-00136, 6 in TNW/1:18-cv-02054) ) - 5 action(s) - Inasmuch as no
                            objection is pending at this time, the stay is lifted.

                             Signed by Clerk of the Panel John W. Nichols on 9/1/2020.

                             (Attachments: # 1 Suggestion of Remand)

                             Associated Cases: MDL No. 2326, ARW/5:14-cv-05090, CAE/2:12-cv-00701,


6 of 7                                                                                                             9/1/2020, 1:36 PM
CM/ECF for JPML (LIVE)                                      https://ecf.jpml.uscourts.gov/cgi-bin/DktRpt.pl?185432944155488-L_1_0-1
              Case 5:14-cv-05090-TLB Document 30-2            Filed 09/01/20 Page 7 of 7 PageID #: 359

                         LAE/2:15-cv-00431, MSS/4:12-cv-00136, TNW/1:18-cv-02054 (CMD) (Entered:
                         09/01/2020)



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                            Billable Pages: 5            Cost:           0.50




7 of 7                                                                                                           9/1/2020, 1:36 PM
